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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


M IC H A E L A N D J
                   O Y C E H A L L O RA N ,E T
A L,

                       P laintiffs,

       v.                                             C IV IL A C TIO N N O :3:16-C V -0 0 133-V A B

H A RL E Y SV IL L E P RE FE RRE D
IN SURA N C E C O M P A N Y ,E T A L .

                       D efend ants.



                     ALLSTATE INSURANCE COMPANY’S
            MOTION TO DISMISS THE FOURTH AMENDED COMPLAINT

       P u rsu antto Ru le 12(b)(6)of the Fed eralRu les of C ivilP roced u re,A llstate Insu rance C o.

(“A llstate”
           )by its u nd ersigned attorneys,hereby moves to d ismiss the claims brou ghtby M ark

and Felice P awelcyzkand Steven and C olleen SwartagainstA llstate in the Fou rthA mend ed

C lass A ction C omplaint(D oc.48 8 )(the “FA C ”
                                                ).Specifically,A llstate moves to d ismiss C ou nts

39,41,90 ,91,136,137 ,18 2,and 18 3 brou ghtagainstitin the FA C .O nce the C ou rtd ismisses

the aforementioned P laintiffs’claims,A llstate shou ld be d ismissed from the case in its entirety,

as no othernamed plaintiffs claim to have had apolicy withA llstate.B y ex tension,no

remainingnamed plaintiff has stand ingto representthe alleged ly “similarly situ ated homeowners”

in claims againstA llstate.

       In su pportof this M otion,A llstate su bmits the M emorand u m of L aw filed

contemporaneou sly withthis M otion,whichis incorporated herein.A llstate also hereby

incorporates the J
                 ointM otion to D ismiss and su pportingM emorand u m of L aw filed atD oc.497 .




O RA L A RUM E N T RE Q UE STE D
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       W H E RE FO RE ,A llstate respectfu lly requ ests thatthis C ou rtgrantthis M otion,d ismiss

C ou nts 39,41,90 ,91,136,137 ,18 2,and 18 3 againstA llstate,and award any fu rtherrelief that

the C ou rtd eems ju stand appropriate.


D ated :A pril6,20 18                                 Respectfu lly su bmitted ,


                                                      /s/ Richard L. Fenton
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                                      CERTIFICATE OF SERVICE

               Ihereby certify thaton A pril6,20 18 ,acopy of the foregoing was filed electronically.

N otice of this filing willbe sentby emailto allparties by operation of the C ou rt’s electronic

filingsystem.P arties may access this filingthrou ghthe C ou rt’s C M /E C F System.




                                                         /s/Richard L .Fenton




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